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                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF OREGON

Ryan Payne and Victoria Sharp,                         )
Plaintiffs,                                            )
                                                       )
vs.                                                    )
W. Joseph Astarita, individually and                   )
in his official capacity as an agent of the FBI        ) 2:18-cv-165-MO
Defendants 1X through 6x, individually and             )
in their official capacity as agents of                )
the Oregon State Police, Greg T. Bretzing,             )
individually and in his capacity as                    )
an officer of the FBI, Defendants 7x through           )
12x, individually and in their official capacity      )
As officers of the FBI,                               )
                                                      )
Defendants.                                           )

  PLAINTIFFS’ NOTICE OF THE AVAILABILITY OF PROCESS SERVERS
 FOR TESTIMONY BY TELEPHONE REGARDING SERVICE OF PROCESS
                  UPON DEFENDANT ASTARITA

COMES NOW Plaintiffs Payne and Sharp, who give notice to the Court regarding

the availability of process servers John Lamb and James Manship for the upcoming

hearing on Defendant Astarita’s Motion to Dismiss for failure to serve.


   1. Plaintiffs’ counsel has contacted both process servers, John Lamb of
      Bozeman, Montana and James Manship of Richmond, Virginia regarding
      today’s (May 6, 2019) oral argument.
   2. Both Mr. Lamb and Mr. Manship will be available by telephone to testify
      regarding their efforts to serve the complaint upon Defendant W. Joseph
      Astarita.
   3. James Manship’s telephone number is (703) 909-4850.
   4. John Lamb’s telephone number is (406) 548-1622.



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IN THE EVENT THAT the Court’s resolution of Defendant’s motion turns on

facts relating to the efforts and observations of either Manship or Lamb, Plaintiffs

request an opportunity to proffer and examine these two process servers before the

Court.


RESPECTFULLY SUBMITTED,

/s/ Roger I. Roots, esq.

Pro hac vice attorney for Plaintiffs Payne and Sharp

113 Lake Drive East

Livingston, MT 59047

(775) 764-9347

rogerroots@msn.com



                             CERTIFICATE OF SERVICE
         I hereby certify that on May 6, 2019, I electronically filed the foregoing

Motion with the Clerk of the Court using the CM/ECF system, which will then

send a notification of such filing to (NEF) to all parties of record in this case.

By: /s/ Roger I. Roots
         Roger Roots
         113 Lake Drive East
         Livingston, MT 59047


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(775) 764-9347
rogerisaacroots@outlook.com




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